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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 DOROTHY ROBISON,                                )
                                                 )
                            Plaintiff,           )
                                                 )
                       v.                        )      No. 1:19-cv-00589-RLY-MG
                                                 )
 IAN PETERSON and                                )
 JONATHAN HORLOCK,                               )
                                                 )
                            Defendants.          )

                                     FINAL JUDGMENT

       Dorothy Robison, as Special Administratix of the Estate of Daniel Cedars,

 Deceased, and Gloria Cloud filed suit against the Consolidated City of Indianapolis and

 Marion County (the "City"), Ian Peterson, and Jonathan Horlock. On November 18,

 2020, this court granted Defendants' motion for summary judgment on Plaintiffs' Monell

 claim against the City and Gloria Cloud's state law emotional distress claims. The court

 denied summary judgment on Plaintiff's Fourth Amendment claims against Ian Peterson

 and Jonathan Horlock. On April 28, 2022, a jury rendered a verdict in favor of Plaintiff

 and against Defendants on all remaining claims. The jury awarded Plaintiff $600,000 in

 damages against each Defendant for a total award of $1.2 million. Accordingly, the court

 now enters judgment in favor of Plaintiff and against Defendants.

 SO ORDERED this 2nd day of May 2022.



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